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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                                Atlanta Division

D. H. PACE COMPANY, INC.,

      Plaintiff,

v.                                               Civil Action No.1:22-CV-01005-
                                                 SEG
MATTHEW JOHNSON and LIBERTY
GARAGE DOOR SERVICES, LLC,

      Defendants.




                        SUPPLEMENT TO ESI PROTCOL



       WHEREAS, Plaintiff D.H. Pace Company, Inc. (“DH Pace”), Defendant

 Matthew Johnson, and Defendant Liberty Garage Door Services, LLC (“Liberty”)

 (each a “Party” and collectively, the “Parties”) are engaged in litigation in the above-

 captioned matter.

       WHEREAS, the Parties wish to supplement the ESI Protocol to which they

 agreed on May 27, 2022, to broaden the search of documents to include those

 responsive to Plaintiff’s discovery requests.




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A.      Supplement to ESI Protocol

     1. The forensic investigator shall conduct searches of the Defendants’ Company

        Devices, Personal Devices, email accounts, and social media (including, but

        not limited to, for example only, FaceBook, Yelp, HomeAdvisor, Google,

        Angie’s List), relevant to Plaintiff’s discovery requests and/or this litigation.

        The forensic investigator shall conduct these searches using search criteria

        (including, but not limited to, keywords) mutually agreed upon by the Parties.

     2. After running searches using the search criteria supplied by the Parties, the

        forensic investigator shall report to the Parties the gross number of documents

        identified under each search. Any terms yielding an unreasonably high

        number of results will be refined by the Parties.

     3. After a mutually agreed search criteria has been determine, the investigator

        will gather the documents and other information electronically and provide

        them to counsel for Defendants.

     4. After receiving the documents and any other information discussed in the

        preceding paragraph, Defendants’ counsel shall review the gathered

        documents and other information for responsiveness, attorney-client privilege

        and/or attorney work product.




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5. Defendants’ counsel shall then produce all responsive, non-privileged

   documents, along with an adequate privilege log, on or before July 1, 2022.

   However, under no circumstance shall Defendants’ counsel have less than 24

   hours to review and produce documents.

6. Except as supplemented herein, the terms and conditions of the original ESI

   Protocol shall remain unchanged and in full force and effect. Nothing in this

   Supplement shall affect the validity and/or enforceability of the original ESI

   Protocol, except as modified herein.


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